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                                         ORDERED.


      Dated: September 13, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

  In re:                                                   Case Number. 6:18-BK-00458-KSJ

  Herrera, Alfredo A
  Herrera, Mariela E                                       Chapter 7
                        Debtor(s)               /

                     ORDER ALLOWING ADMINISTRATIVE EXPENSES

           THIS CASE came on for consideration on Trustee’s Final Report (Doc. No. 46) and

 Application(s) for Compensation (Doc. No. 41, 43, 44, 45). The United States Trustee has

 reviewed the Trustee’s Final Report. All creditors and parties in interest have been given notice

 and the opportunity for a hearing of all pending applications for compensation and all pending

 administrative claims. All objections, if any, are resolved. It is therefore,

           ORDERED:

           The following expenses of administration which have not been paid are allowed, and the

 trustee is directed to pay these expenses pro rata to the person(s) so indicated.

Application or Reason                                            Fees                Expenses
Arvind Mahendru, Trustee                                    $2,750.00                 $848.62
Arvind Mahendru, Esq., Attorney for                         $2,310.00                   $0.00
Trustee
Steve M. Vanderwilt, Accountant for                           $759.00                  $17.65
Trustee
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BK Global Real Estate Services, Realtor for               $750.00                  $0.00
Trustee
Century 21 Carioti, Realtor for Trustee                   $250.00                  $0.00
TOTAL COSTS OF ADMINISTRATION ORDERED PAID                                    $7,685.27


        The following expenses of administration which have been previously paid without entry

 by the court of a specific order authorizing payment of them are allowed as indicated:

        NONE

        The Trustee has reported to the Court that no remaining assets are susceptible of

 liquidation and that any remaining assets are burdensome and should be abandoned. That

 abandonment is authorized.




 Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties who are
 non-CM/ECF users and file a proof of service within 3 days of entry of the order.
